                                IN THE UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF VIRGINIA
                                         ROANOKE DIVISION

                                CRIMINAL MINUTES - GENERAL MINUTES

  Case No.: 4:18CR11                                                       Date: 9/7/2019


  Defendant:                                               Counsel:
  US v Marcus J. Davis, et al

  4:18-cr-00011-MFU-RSB-1 Marcus Jay Davis                 Tony Anderson, Bev Davis
  4:18-cr-00011-MFU-RSB-2 Kevin Lamont Trent, Jr.          Aaron Cook, Jimmy Turk
  4:18-cr-00011-MFU-RSB-3 Kanas Lamont'e Trent             Bonnie Lepold, Mike Hemenway
  4:18-cr-00011-MFU-RSB-4 Deshaun Lamar Trent              Chris Kowalczuk, Patrick Kenney
  4:18-cr-00011-MFU-RSB-5 Phillip Daekwon Miles            Tyson Daniel, Cary Bowen
  4:18-cr-00011-MFU-RSB-6 Shabba Larun Chandler            Aaron Houchens, Jeff Dorsey
  4:18-cr-00011-MFU-RSB-8 Ashley Tiana Ross                Terry Grimes
  (bond)
  4:18-cr-00011-MFU-RSB-10 Tenikqua Fuller (bond)          Corey Diviney
  4:18-cr-00011-007 Matthew Ferguson                       Paul Gill, Mary Maguire
  Intervenor: Juval O. Scott                               John Fishwick, Carroll Ching
  Non-party : Allegra M. C. Black, Esq.                    John Lichtenstein



  PRESENT:        JUDGE:                  Michael F. Urbanski, CUSDJ
                  TIME IN COURT:          10:14-12:15; 12:42-1:39 2h 58m
                  Deputy Clerk:           Kristin Ayersman
                  Court Reporter:         Judy Web
                  U. S. Attorney:         Ron Huber, Heather Carlton, Michael Baudinet, Michael Newman
                  USPO:                   Kim Falatic
                  Case Agent:             Devin Taylor, FBI – not present
                  Interpreter:            none


  PROCEEDINGS:
  Final PTC.
  Court addresses parties re issue surrounding defendant Ferguson/Touhy issue.
  Mr. Turk moves to exclude Mr. Ferguson; granted, excluded.
  Court will not conduct Rule 11 for Mr. Ferguson today. Court notes ECF 824, ECF 826, ECF 833, request
  for WIFI access. Court will address ECF 831 on the pleadings. Court wants to address jury issues with
  parties today. US responds – one additional issue wanting to address today re defense case, issue with
  court reporter.
  US and dft Ferguson’s counsel are prepared to go forward with Rule 11 today, more fulsome SOF
  provided. Mr. Kowalczuk responds for Deshaun Trent – all defense counsel stipulates to authenticity of
  transcripts, US agrees, re transcripts of GJ, and any from this case that may be used.
  Mr. Kowalczuk addresses issue with dft Ferguson, FPD; security at trial.
  Mr. Kowalczuk states that agreed upon strikes from all parties will be submitted to the court today.
  Mr. Anderson responds for Mr. Davis – addresses Touhy, relies on ECF 787. Addresses new SOF that
  US referred to this morning – requests it be made available to all defense counsel. US has no objection to




Case 4:18-cr-00011-MFU-RSB Document 837 Filed 09/27/19 Page 1 of 3 Pageid#: 5766
  providing unsigned new SOF to all counsel – copies to be provided, to include copies of new PA. ECF
  824 – additional disclosure request.
  Mr. Davis has a request for a four day week during the trial
  Mr. Hemenway joins motions.
  Mr. Cook states observation for parties re Rule 11 hearing. Court asks Mr. Cook to respond to ECF 826.
  Court has addressed these issues with the USMS and relays that to the parties.
  Court asks Mr. Fishwick to address issues – does not see conflict, intervened on limited issue and here
  only on Toughy issue. US confirms that Mr. Fishwick was not the USA during the life of this case. Mr.
  Fishwick responds for FPD. US states possibility that dft Ferguson could be called as a witness. Issue re
  §2255 raised.
  Mr. Gill responds for defendant Ferguson, ECF 828 – waiver of atty/client privilege is limited.
  Court calls Mr. Fishwick to respond to Mr. Gill’s argument re atty/client privilege. Mr. Heblich was not
  subpoenaed to be present today. Mr. Fishwick notes Mr. Lichentenstein represents Allegra Black.
  Mr. Gill points out that he was not present at the proffer in question and may be more appropriate to have
  those who were there address the issues.
  US responds re participants of proffer. US is in agreement with Mr. Gill re atty/client privilege as stated.
  Mr. Lichenstein responds on behalf of his client - not waiving anything re his client, court notes for record
  - comments of clarification.
  US responds.
  Mr. Kowalczuk responds.
  Recess 12:15
  Reconvene 12:42
  Court rules on record. Court authorizes subpoena to be issued for Allegra Black by any party, beginning
  10/14. Counsel to work together to arrange date/time certain. Court finds as a matter of law that if Mr.
  Ferguson testifies, it would be a sufficient waiver of atty/client privilege. Remaining issue if material or
  peripheral. If material, defense may call Ms. Black to testify.
  US will address Mr. Anderson’s request ECF 824, and respond as soon as it can. Court denies as moot by
  oral order, on US representation that no such documents exist.
  Court addresses WIFI issue counsel has raised. The answer would be for counsel to get hotspot and is
  checking with Mr. Dash re funds.
  Court will add defense table, skirt the tables, shackles will be used, plain clothes, partially grant Mr.
  Cook’s motion re USMS location during trial ECF 826.
  Court addresses new SOF for Mr. Ferguson. More fulsome SOF explanation needs to be given to the
  court, gives counsel options. Mr. Gill and Ms. Carlton agree and Rule 11 hearing will be scheduled prior
  to him giving testimony in this case.
  Mr. Gill addresses RICO issue.
  Court excuses some parties.
  Mr. Kowalczuk raises jury issue again – asks that jury stay in hotel in Roanoke during the week, but not
  sequester them.
  Mr. Hemenway addresses expert issue.
  Court addresses exhibit issue for defense case – defense estimated two weeks for their case in chief – and
  no exhibits have been produced to US. US notes no production of exhibit lists, no witness lists from
  defense. Court directs defendants to provide the US any expert notices under the rules by start of trial.
  Court asks when defense will tender witness list to US. Mr. Anderson suggests the day before witness
  used. Court asks if defense has any objection to providing witness lists to US by start of trial. Court will
  issue order. US would prefer in advance of trial. Court enters oral order – defense to provide US list of
  witnesses by first day of trial. Parties address issue of subpoenaed witnesses – Court directs parties to
  work together to avoid having to re-subpoena. Mr. Houchens asks to have some time, until next Tuesday
  10/1, to submit the witness list. Absent other issue/suggestion, list will be due first day of trial. Mr. Turk
  raises issue of one counsel being allowed to miss time in trial, one counsel to be present – defendants
  must consent to that on the record.
  Court addresses jury issues, strikes – asks if the parties have objection to allowing the parties to take more
  strikes v allotted. Court may seat 18 – 12 jurors, 6 alternates. Mr. Anderson responds. Court will email
  the parties re process used re strikes in last large multi-dft case. US asks about voir dire, given
  questionnaire. Court responds, voir dire will not be limited. Jury administrator confirms that there will be
  six panels.
  Mr. Houchens asks about calendar, 4 or 5 days per week. Court will go 5 days to move case, will adjust
  as needed. Court may adjust hours to accommodate jury, parties. Court will not make jurors stay in a
Case 4:18-cr-00011-MFU-RSB Document 837 Filed 09/27/19 Page 2 of 3 Pageid#: 5767
  hotel, but will offer all jurors the option to stay in Roanoke in a hotel. Court will not tell counsel how to
  try their case or witness, but doesn’t want duplicative testimony/evidence. Opening statements will occur
  after jury selected if circumstances permit.
  Mr. Kowalczuk raises internet issue, stating three hotspots may be necessary as one will support 3-4
  computer. Court will have the Clerk (Ms. Dudley) get in touch with counsel. Possible bench and bar
  funds could cover this. Court delegates this issue to Judge Ballou.
  US raises issue re response time to Ashley Ross transcript raised by Mr. Grimes. Court gives US one
  week to respond (due 10/4).
  Adjourn. 1:39




Case 4:18-cr-00011-MFU-RSB Document 837 Filed 09/27/19 Page 3 of 3 Pageid#: 5768
